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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      )
                                              )
vs.                                           )
                                              )
JACOB CHANSLEY,                               )
                                              )       Cause No.: 1:21-cr-00003
       Defendant                              )
                                              )

                MOTION FOR LEAVE TO FILE MOTION UNDER SEAL


       COMES NOW Defendant, by and through his counsel of record, and requests leave of

Court to file under seal a Motion, the subject matter of which was addressed informally.

       This request is compliant with the suggestion of the Court.

       WHEREFORE, Defendant prays this Honorable Court grant permission to Defendant’s

counsel to file under seal the Motion more fully discussed informally.

                                              Respectfully Submitted,

                                              KODNER WATKINS

                                              By:_/s/ Albert S. Watkins____________
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                                                  1200 South Big Bend Boulevard
                                                  St. Louis, MO 63117
                                                  Phone: (314) 727-9111
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                                CERTIFICATE OF SERVICE

       Signature above is also certification that on July 15, 2021, a true and correct copy of the
foregoing was electronically filed with the Clerk of the Court utilizing the CM/ECF system
which will send notification of such filing to all parties of record.




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